Case 1:19-cr-20509-RNS Document 3 Entered on FLSD Docket 08/16/2019 Page 1 of 17
                                                              FILEDB'l          D.C.      f
                                                                                AUG 15 2019
                          UNITED STATES DISTRICT COURT                           ANGELAE.NOBLE
                          SOUTHERN DISTRICT~F FL~A
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                            Case No •• 1 .9 -
                                     18 u.s.c. § 1343
                                                        00                CR-SCOLA\liQRRE~
                                     18 U.S.C. § 1956(a)(1)(B)(i)
                                     18 U.S.C. § 1030(a)(5)(A)
                                     26 u.s.c. § 7201
                                     18 u.s.c. § 1512
                                     18 u.s.c. § 1519
                                     18 U.S.C. § 981(a)(l)(C)
                                     18 U.S.C. § 982(a)(1)
                                     18 U.S.C. § 982(a)(2)(B)
                                     18 u.s.c. § 1030(i)
                                     26 u.s.c. § 7302

 UNITED STATES OF AMERICA

 vs.

 PAULE. VERNON,

               Defendant.
 _____________________________ !

                                       INDICTMENT

        The Grand Jury charges that:

                                GENERAL ALLEGATIONS

        At various times relevant to this Indictment:

        I.     Defendant, PAUL E. VERNON, was a resident of Palm Beach County,

 Florida, and the founder, operator, and Chief Executive Officer ("CEO") ofProject Investors

 Inc., doing business as Cryptsy.

        2.     Project Investors, Inc., was a Florida Corporation with its principle place of

 business located at 160 Congress Park Drive, Suite 101, Delray Beach, Florida 33445.

        3.     Cryptsy was an online cryptocurrency exchange which allowed its customers

 to exchange, invest, and trade in various forms of cryptocurrency, including Bitcoin. Its
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  webservers were located at Vault Networks, located at 100 N. Biscayne Blvd., Suite 604,

  Miami, Florida 33132.

         4.     Cryptsy was registered with the Financial Crimes Enforcement Network, or

  FinCEN, as a Money Services Business. Cryptsy offered its services to customers throughout

  the United States and various foreign countries.

         5.     Cryptsy operated from the website: www.cryptsy.com and also maintained a

  blog located at www.blog.cryptsy.com.

         6.     Cryptsy provided an internet platform that allowed Cryptsy's customers to

  trade cryptocurrencies with one another. The platform generally appeared as follows:




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                                              @)   Pending Transactions




         7.     A customer interested in buying or selling a cryptocurrency like Bitcoin in
                                                                                                                                                  !
  exchange for other virtual currencies could go to Cryptsy's website and open an account. The

  customer would then transfer his/her cryptocurrency directly to Cryptsy and then he/ she

  could begin trading his/her cryptocurrency for virtual currencies owned by other Cryptsy

  customers.


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         8.     Cryptsy earned revenue by charging a percentage fee (in the form of the

  underlying cryptocurrency) for each cryptocurrency exchange or trade that took place on the

  Cryptsy website.

         9.     Cryptsy, in the name of Project Investors, maintained a merchant account at

  Coinbase, located in San Francisco, California

         10.    Coinbase was a web-based cryptocurrency wallet and platform where

  merchants and consumers could buy, sell, and trade cryptocurrencies like Bitcoin.

         11.    Cryptsy used Coinbase to convert the revenue Cryptsy earned from the fees

  associated cryptocurrency exchanges on the Cryptsy platform, into cash. The cash was then

  distributed to Cryptsy's corporate bank accounts to pay for Cryptsy's expenses, employee

  paychecks, and employee bonuses, among other things.

         12.    Cryptsy did not maintain separate "wallets" or segregated accounts for the

  cryptocurrencies transferred or owned by each of its customers. Rather, Cryptsy essentially

  maintained one wallet for each type of cryptocurrency it allowed its customers to trade with

  one another. Within each of these wallets, a customer's cryptocurrency was comingled with

  the same type of cryptocurrency transferred to Cryptsy by its other customers and with the

  fees generated by Cryptsy from its customers' trading activities.

         13.     Cryptsy maintained internal software on its computer servers that provided the

  accounting and administrative support to track all of the trading activity of Cryptsy's

  customers including keeping track of the account balances for each of Cryptsy's customers

  and the fees generated for Cryptsy from their trading activities.

         14.    Cryptsy represented to its customers that they could at any time withdraw

  cryptocurrency from their Cryptsy accounts.
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                                           COUNTS 1-6
                                          WIRE FRAUD
                                        (18 u.s.c. § 1343)

         1.     Paragraphs 1-14 of the General Allegations section of this Indictment are re-

  alleged and incorporated by reference as though fully set forth herein.

         2.     From on or about May 23, 2013, and continuing through on or about January

  14, 2016, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the

  defendant,

                                       PAULE. VERNON,

  did knowingly, and with intent to defraud, devise, and intend to devise, a scheme and artifice

  to defraud and to obtain money and property by means of materially false and fraudulent

  pretenses, representations, and promises, knowing that the pretenses, representations, and

  promises were false and fraudulent when made, and transmitted and caused to be transmitted

  in interstate commerce, by means of wire communication, certain writings, signs, signals,

  pictures, and sounds, for the purpose of executing the scheme and artifice, in violation of Title

  18, United States Code, Section 1343.

                       PURPOSE OF THE SCHEME AND ARTIFICE

         3.     It was the purpose of the scheme and artifice for PAUL E. VERNON to

  unjustly enrich himself by: (a) soliciting and causing others to solicit over one million dollars

  in funds from potential Cryptsy customers· through false and fraudulent misrepresentations

  and omissions as to the security of Cryptsy website and the financial health of the company,

  among others; (b) misappropriating and converting Cryptsy customer funds for VERNON's

  personal benefit, and the benefit of others without the consent or authority of Cryptsy




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  customers; and (c) engagmg m activities which were designed to fraudulently conceal

  VERNON's commission of such conduct.

                                 SCHEME AND ARTIFICE

         The manner and means by which the defendant sought to accomplish the purpose of

  the scheme and artifice included, among others, the following:

        4.      PAUL E. VERNON solicited cryptocurrency owners to deposit their

 cryptocurrency with Cryptsy by touting the safety and financial health of Cryptsy' s

 cryptocurrency trading platform. Through representations made in personal interviews with

 the investing public and announcements made through his website, VERNON caused

 cryptocurrency investors to trust the safety of Cryptsy for storing and trading their virtual

 currency.

         5.    As the founder and operator ofCryptsy, PAUL E. VERNON exercised control

 over cryptocurrencies deposited on the Cryptsy website. Between in and around May 2013,

 through in and around May 2015, VERNON used his control over Cryptsy's accounts,

 known as wallets, to falsely and fraudulently withdraw over one million of dollars from

 Cryptsy's self-maintained cryptocurrency wallets. Once VERNON stole his customers' funds

 from Cryptsy's wallets, he falsely and fraudulently deposited the funds into his personal

 Coinbase account, from which he transferred the funds into his personal TD Bank account

 ending in -2307. At no time during this time period did VERNON disclose his theft of his

 investors' funds from their Cryptsy accounts.

        6.      On or about July 29, 2014, PAUL E. VERNON informed Cryptsy employees

 that Cryptsy had been hacked by an unidentified party, and that the hacker had stolen more

 than five million dollars' worth ofbitcoins and other cryptocurrency from Cryptsy. For six


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  months following this disclosure to his employees, VERNON continued to operate Cryptsy,

  including soliciting new customers, without disclosing to his customers that the website's

  security had been compromised, resulting in the theft of millions of dollars of client funds.

         7.     In or around October 2014, months before disclosing the hack to the general

  public, VERNON sought to reassure his customers through the Cryptsy blog. VERNON

  falsely and fraudulently posted on the Cryptsy blog that Cryptsy "strived for transparency and

  doing what is right."    VERNON made this false and fraudulent representation while

  simultaneously failing to disclose the June 2014 hack, his own theft of Cryptsy customers'

  funds, and his use of new and existing Cryptsy customers' funds to conceal his fraudulent

  conduct.

         8.     In or around November of 2015, PAUL E. VERNON moved from the

  Southern District of Florida to China. Once outside the reach of his customers, on or about

 January 14, 2016, the Cryptsy blog, for the firsttime, publicly reported the 20 14loss ofbitcoin

 and other cryptocurrency to Cryptsy customers.

         9.     Based on various false and fraudulent representations detailed above, PAUL

 E. VERNON caused thousands of investors to deposit millions of dollars' worth of

 cryptocurrency through his Cryptsy website. Ultimately, VERNON misappropriated over

 one million dollars for his personal use and enrichment, and many Cryptsy customers never

 received the funds they had deposited with Cryptsy.

                                     USE OF THE WIRES

         10.    On or about the dates specified as to each count below, the defendant, PAUL

 E. VERNON, for the purpose of executing and in furtherance of the aforesaid scheme and

  artifice to defraud and to obtain money and property by means of materially false and


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 fraudulent pretenses, representations, and promises, knowing that the pretenses,

 representations, and promises were false and fraudulent when made, did knowingly transmit

  and cause to be transmitted in interstate commerce, by means of wire communication, certain

 writings, signs, signals, pictures, and sounds, as more particularly described below:

    COUNT         APPROX.             DESCRIPTION OF WIRE COM:MUNICATION
                   DATE                                ·.

        1       11/9/2014         Transferred 21 bitcoins from Cryptsy servers located in
                                  Miami, Florida to Coinbase, located in San Francisco,
                                  California, causing a wire transmission from the Southern
                                  District of Florida to San Francisco, California.
        2       11110/2014        Transferred 43 bitcoins from Cryptsy servers located in
                                  Miami, Florida to Coinbase, located in San Francisco,
                                  California, causing a wire transmission from the Southern
                                  District of Florida to San Francisco, California.
        3       1111112014        Transferred 30 bitcoins from Cryptsy servers located in


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                                  Miami, Florida to Coinbase, located in San Francisco,
                                  California, causing a wire transmission from the Southern
                                  District of Florida to San Francisco, California.
        4       11112/2014        Transferred 17 bitcoins from Cryptsy servers located in
                                  Miami, Florida to Coinbase, located in San Francisco,
                                  California, causing a wire transmission from the Southern
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                                  District of Florida to San Francisco, California.
        5       5/27/2015         Transferred 200 bitcoins from Cryptsy servers located in
                                  Miami, Florida to Coinbase, located in San Francisco,
                                  California, causing a wire transmission from the Southern
                                  District of Florida to San Francisco, California.
        6       5/3112015         Transferred 200 bitcoins from Cryptsy servers located in
                                  Miami, Florida to Coinbase, located in San Francisco,
                                  California, causing a wire transmission from the Southern
                                  District of Florida to San Francisco, California.

        In violation of Title 18, United States Code, Sections 1343 and 2.




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                                          COUNTS 7-12
                                    MONEY LAUNDERING
                                   (18 U.S.C. §1956(a)(1)(B)(i))

           1.    The allegations contained in paragraphs 1 through 14 of the General

  Allegations of this Indictment are realleged and incorporated as though fully set forth herein.

           2.    On or about the dates set forth below, each date constituting a separate count

  of this Indictment, in Palm Beach and Miami-Dade Counties, within the Southern District of

  Florida, and elsewhere, defendant,

                                       PAULE. VERNON,

  did knowingly conduct and attempt to conduct a financial transaction affecting interstate

  commerce, which financial transaction involved the proceeds of specified unlawful activity,

  knowing that the property involved in the financial transaction represented the proceeds of

  some form of unlawful activity, and knowing that the transaction was designed, in whole and

  in part, to conceal and disguise the nature, the location, the source, the ownership, and the

  control of the proceeds of specified unlawful activity, as set forth below:

  COUNT          APPROX.                        FINANCIAL TRANSACTION
                   DATE
       7        1119/2014        Wire transfer of approximately $26,640.27 from PAUL E.
                                 VERNON's personal Coinbase account to T.D. Bank
                                 account ending in -2307, belonging to PAUL E. VERNON,
                                 causing a wire transmission from San Francisco, California,
                                 to the Southern District of Florida.
       8        11110/2014       Wire transfer of approximately $43,303.61 from PAUL E.
                                 VERNON's personal Coinbase account to T.D. Bank
                                 account ending in -2307, belonging to PAUL E. VERNON,
                                 causing a wire transmission from San Francisco, California,
                                 to the Southern District of Florida.
       9        11111/2014       Wire transfer of approximately $31,694.63 from PAUL E.
                                 VERNON's personal Coinbase account to T.D. Bank
                                 account ending in -2307, belonging to PAUL E. VERNON,
                                 causing a wire transmission from San Francisco, California,
                                 to the Southern District of Florida.

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       10        11112/2014         Wire transfer of approximately $19,724.13 from PAUL E.
                                    VERNON's personal Coinbase account to T.D. Bank
                                    account ending in -2307, belonging to PAUL E. VERNON,
                                    causing a wire transmission from San Francisco, California,
                                    to the Southern District of Florida.
       11        5/27/2015          Wire transfer of approximately $47,040.84 from PAUL E.
                                    VERNON's personal Coinbase account to T.D. Bank
                                    account ending in -2307, belonging to PAUL E. VERNON,
                                    causing a wire transmission from San Francisco, California,
                                    to the Southern District of Florida.
       12        5/31/2015          Wire transfer of approximately $45,690.48 from PAUL E.
                                    VERNON's personal Coinbase account to T.D. Bank
                                    account ending in -2307, belonging to PAUL E. VERNON,
                                    causing a wire transmission from San Francisco, California,
                                    to the Southern District of Florida.

            It is further alleged that the specified unlawful activity is wire fraud, in violation of

  Title 18, United States Code, Section 1343.

            In violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and 2.

                                             COUNT13
                                        COMPUTER FRAUD
                                      (18 U.S.C. § 1030(a)(5)(A))

            On or about Apri14, 2016, in Miami-Dade County, in the Southern District of Florida,

  and elsewhere, the defendant,

                                            PAULE. VERNON,

  did knowingly cause the transmission of a program, information, code, and commands, and,

  as a result of such conduct, did intentionally cause damage, without authorization, to a

  protected computer, that is, one or more computer servers owned by the receiver/ corporate

  monitor over Project Investors, Inc. d/b/a Cryptsy, with such damage causing a loss during

  the one year period beginning on or about April 4, 2016, aggregating more than $5,000, in

  violation of Title 18, United States Code, Sections 1030(a)(5)(A), and 1030 (c)(4)(B)(i), and

  2.


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                              COUNT 14
       TAMPERING WITH RECORDS, DOCUMENTS, AND OTHER OBJECTS
                          (18 u.s.c. § 1512)

         On or about April4, 2016, in Miami-Dade County, in the Sothern District of Florida,

  and elsewhere, the defendant,

                                     PAULE. VERNON,

  did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, that

  is, one or more computer servers owned by the receiver/corporate monitor over Project

  Investors, Inc. d/b/a Cryptsy, and attempted to do so, with the intent to impair the object's

  integrity and availability for use in an official proceeding, in violation of Title 18, United

  States Code, Sections 1512(c)(l) and 2.

                                 COUNT15
            DESTRUCTION OF RECORDS IN FEDERAL INVESTIGATION
                             (18 u.s.c. § 1519)

         On or about April4, 2016, in Miami-Dade County, in the Sothern District of Florida,

  and elsewhere, the defendant,

                                     PAULE. VERNON,

  did knowingly alter, destroy, mutilate, conceal, and cover up any record and tangible object,

  that is, one or more computer servers owned by the receiver I corporate monitor over Project

  Investors, Inc. d/b/a Cryptsy, with the intent to impede, obstruct, and influence the

  investigation and proper administration of any matter within the jurisdiction of the Internal

  Revenue Service, Criminal Investigations and the Federal Bureau of Investigations,

  departments and agencies of the United States, and in relation to and contemplation of any

  such matter, in violation of Title 18, United States Code, Sections 1519 and 2.



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                                     COUNT16
                       ATTEMPTING TO EVADE OR DEFEAT TAX
                                 (26 u.s.c. § 7201)

         On or about March 22, 2015, in Palm Beach County, in the Southern District of

  Florida, and elsewhere, the defendant,



                                     PAUL E. VERNON,

  a resident of Palm Beach County, did knowingly and willfully attempt to evade and defeat

  substantial income tax due and owing by him to the United States of America for the calendar

  year 2014, by preparing and causing to be prepared, and by signing and causing to be signed,

  a false and fraudulent U.S. Individual Income Tax Return, Form 1040, on behalf of himself,

  which was filed with the Internal Revenue Service, wherein the defendant stated that his

  taxable income for the calendar year 2014 was $694,057 and that the amount of tax due

  thereon was $225,850.00, when in truth and fact, as he then and there knew, his correct

  taxable income for the calendar year 2014 was substantially more than the amount reported

  on the tax return, and as a result of such additional taxable income, there was additional tax

  due and owing to the United States of America.

         In violation ofTitle 26, United States Code, Section 7201.

                                    COUNT17
                      ATTEMPTING TO EVADE OR DEFEAT TAX
                                (26 u.s.c. § 7201)

         On or about Aprill3, 2016 in Palm Beach County, in the Southern District ofFlorida,

  and elsewhere, the defendant,

                                     PAUL E. VERNON,




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  a resident of Palm Beach County, Florida, did knowingly and willfully attempt to evade and

  defeat substantial income tax due and owing by him to the United States of America for the

  calendar year 2015, by, among other things, preparing and causing to be prepared, and by

  signing and causing to be signed, a false and fraudulent Form 4868 Application for Automatic

  Extension of Time To File a Tax Return, on behalf of himself, which was filed with the

  Internal Revenue Service wherein the defendant stated that his estimated tax liability for the

  calendar year 2015 was $1 ,244 and that the amount of tax due thereon was $0, when in truth

  and fact, as he then and there knew, that based on his taxable income for the calendar year

  2015, his tax due and owing to the United States was substantially more than $0.

         In violation of Title 26, United States Code, Section 7201.

                                         FORFEITURE

         1.     The allegations of this Indictment are re-alleged and incorporated herein for the

  purpose of alleging forfeiture to the United States of America of property in which defendant,

  PAUL E. VERNON, has an interest.

         2.     Upon conviction of any violation ofTitle 18, United States Code, Section 1343,

  the defendant shall forfeit to the United States, any property, real or personal, which

  constitutes or is derived from proceeds traceable to such violation.

         3.     Upon conviction of any violation of Title 18, United States Code, Section

  1956(a) as alleged in this Indictment, the defendant shall forfeit to the United States, any

  property, real or personal, involved in such violation, or any property traceable to such

  property.

         4.     Upon conviction of any violation of Title 18, United States Code, Section

  1030(a) as alleged in this Indictment, the defendant shall forfeit to the United States, any


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  property, real or personal, which constitutes or is derived from proceeds traceable to such

  violation, any property constituting or derived from proceeds obtained, directly or indirectly

  as a result of such violation, any personal property that was used or intended to be used to

  commit or to facilitate the commission of the violation, and any property, real or personal,

  constituting or derived from any proceeds obtained, directly or indirectly as a result of such

  violation.

         5.     Upon conviction of a violation of Title 26, United States Code, Section 7201

  as alleged in this Indictment, the defendant shall forfeit any property intended for use in

  violation of the internal revenue laws, or regulations prescribed under such laws, or which

  has been so used.




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            6.   All pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 18,

  United States Code, Section 982(a)(1), Title 18, United States Code, Section 982(a)(2)(B),

  Title 18, United States Code, Section 1030(i) and Title 26, United States Code, Section 7302

  and the procedures set forth at Title 21, United States Code, Section 853, made applicable by

  Title 28, United States Code, Section 2461(c) and Title 18, United States Code, Section

  982(b).



                                                    A TRUE BILL




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  ASSISTANT UNITED STATES ATTORNEY


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                                                  UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                     CASE NO._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 v.
                                                             CERTIFICATE OF TRIAL ATTORNEY*
PAUL E. VERNON,                                              Superseding Case Information:
                                  Defendant.

Court Division:   (Select One)                               New defendant(s)             Yes          No
 I     Miami                     Key West                    Number of new defendants
       FTL                       WPB           FTP           Total number of counts

        I.         I have carefully considered the allegations of the indictment, the number of defendants, the number of
                   probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.         I am aware that the information supplied on this statement will be relied upon by the Judges of this
                   Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                   Act, Title 28 U.S.C. Section 3161.
        3.         Interpreter:    (Yes or No)         No
                   List language and/or dialect
        4.        This case will take 7-10 days for the parties to try.
        5.        Please check appropriate category and type of offense listed below:

                  (Check only one)                                   (Check only one)


        I         0 to 5 days                                        Petty
        II        6 to 10 days                                       Minor
        III       11 to 20 days                                      Misdem.
        IV        21 to 60 days                                      Felony               I

        v         61 days and over
        6.       Has this case previously been filed in this District Court?    (Yes or No) No
         Ifyes: Judge                                      Case No.
         (Attach copy of dispositive order)                           --------------
         Has a complaint been filed in this matter?         (Yes or No)      No
         If yes: Magistrate Case No.
         Related miscellaneous numbers:
         Defendant(s) in federal custody as of
         Defendant(s) in state custody as of
         Rule 20 from the District of
         Is this a potential death penalty case? (Yes or No)

        7.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                   prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No 1

         8.        Does this case originate from a matter pending in the Norther        e ·on U.S. Attorney's Office
                   prior to August 8, 2014 (Mag. Judge Shaniek Maynard?                                No 1




                                                                              A ON
                                                                               UNITED STATES ATTORNEY
                                                                     COURT NO. A5501844
 *Penalty Sheet(s) attached                                                                                     REV 8/13/2018
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    PENALTY SHEET

  Defendant's Name:      PAUL E. VERNON
                        ---------------------------------------------------
  CaseNo: __________________________________________________________

  Counts#: 1-6

  Wire Fraud

  18 U.S.C. § 1343

  *Max. Penalty: 20 Years' Imprisonment

  Counts #: 2-12

  Money Laundering

  18 U.S.C. § 1956(a)(l )(B)(i))

  *Max. Penalty: 20 Years' Imprisonment

  Count#: 13

  Computer Fraud

  18 U.S.C. § 1030

  *Max. Penalty: 20 Years' Imprisonment

  Count#: 14

  Tampering with Records, Documents, and Other Objects

  18 U.S.C. § 1512

  *Max. Penalty: 20 Years' Imprisonment



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  Count#: 15

  Destruction of Evidence in a Federal Investigation

  18 U.S.C. § 1519

  *Max. Penalty: 20 Years' Imprisonment

  Counts#: 16 and 17

  Tax Evasion

  26 U.S.C. § 7201

  *Max. Penalty: 5 Years' Imprisonment


  *Refers only to possible term of incarceration, does not include possible fines, restitution,
  special assessments, parole terms, or forfeitures that may be applicable.




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